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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Commodity Futures Trading                      Case Number: 1:23-cv-01887
            Commission v. Zhao et al

An appearance is hereby filed by the undersigned as attorney for:
Defendant Changpeng Zhao
Attorney name (type or print): Kirsten C. Lee

Firm: Latham & Watkins LLP

Street address: 330 North Wabash Avenue, Suite 2800

City/State/Zip: Chicago, IL 60614

Bar ID Number: 6330011                                     Telephone Number: (312) 876-7700
(See item 3 in instructions)

Email Address: kirsten.lee@lw.com

Are you acting as lead counsel in this case?                                         Yes       ✔ No
Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on April 24, 2023

Attorney signature:            S/ Kirsten C. Lee
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015


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